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 1   DINA L. SANTOS, Bar #204200
     Attorney at Law
 2   428 J Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     FAUSTINO HERNANDEZ
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       ) No. 06-357 LKK
12                                   )
                    Plaintiff,       )
13                                   ) ORDER SETTING FUTURE STATUS
          v.                         ) CONFERENCE AND EXCLUDING TIME
14                                   )
     FAUSTINO HERNANDEZ, et al.,     )
15                  Defendant.       )
                                     )
16   _______________________________ )
                                     )
17
18
          A status conference was held in open court on Tuesday, October 24,
19
     2006.   Attorney Dina Santos was present with her client, Faustino
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     Hernandez; Attorney Phillip Cozens was present with his client
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     Francisco Zamora; and Assistant United States Attorney Bob Twiss was
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     present for the government.
23
          At the request of the defense, the status conference was continued
24
     to November 14, 2006 at 9:30 a.m., to allow defense counsel time to
25
     review the discovery and for Mr Zamora to review his plea agreement.
26
     The court excluded time under local code T-4 from October 24, 2006 to
27
     November 14, 2006 for attorney preparation. and to allow the defense
28
             Case 2:06-cr-00357-LKK Document 20 Filed 10/26/06 Page 2 of 2


 1   reasonable time needed to review discovery.
 2
 3                                       O R D E R
 4
 5         IT IS SO ORDERED.
 6
 7                     By the Court,
 8
 9
10
11   Dated: October 24, 2006
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     Stipulation and Order                    2
